                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                             Case No. 11-71731

TANZIL S. MABONE,                                  Chapter 13

            Debtor.                                Judge Thomas J. Tucker
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                         ORDER DENYING SANCTION MOTIONS

       This case is before the Court on (1) United Car Company, Inc.’s motion entitled “Motion
for Sanctions Against Frego & Associates” (Docket # 21), and (2) the sanctions part of United
Car Company, Inc.’s motion entitled “Motion of United Car Company, Inc. For Relief From the
Automatic Stay, for Waiver of Provisions of Fed. R. Bankr. P. 4001(a)(3), and for Contempt
Sanctions Against the Debtor and her Counsel” (Docket # 37)(collectively the “Two Sanction
Motions”). The Court held a hearing on March 1, 2012, and then held an evidentiary hearing on
the Two Sanction Motions, on April 16, 2012 and May 15, 2012. The Court then took the
motions under advisement.

       Today the Court has filed a written opinion regarding the Two Sanction Motions. For the
reasons stated in that written opinion,

         IT IS ORDERED that each of the Two Sanction Motions (Docket ## 21, 37) is denied.

Signed on May 25, 2012                             /s/ Thomas J. Tucker
                                                   Thomas J. Tucker
                                                   United States Bankruptcy Judge




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